       3:05-cv-03608-MBS              Date Filed 03/02/09    Entry Number 249    Page 1 of 2




AO450 - Judgment in a Civil Case



                         UNITED STATES DISTRICT COURT
                                   DISTRICT OF SOUTH CAROLINA
                                        COLUMBIA DIVISION


PETE CUMING, JAMES A. BENTON,
and DOROTHY MCFADDEN, individually
and as representatives of a class of people
similarly situated,
                Plaintiffs,                                 JUDGMENT IN A CIVIL CASE

          vs.
                                                            Case Number: 3:05-3608-MBS

SOUTH CAROLINA LOTTERY
COMMISSION, JAMES A. BAILEY, JR.,
T. MOFFATT BURRISS, DR. EDWARD
C. KEITH, ASHLEY LANDES, TIM
MADDEN, A. MARVIN
QUATTLEBAUM, JR., BOYKIN ROSE,
NATHANIEL SPELLS, SR., LISA H.
STEVENS, in their official positions as
members of the Board of Commissioners of
the South Carolina Lottery Commission,
and ERNIE PASSAILAIGUE as Executive
Director of the South Carolina Lottery
Commission,
ANGLER’S MINI-MART, INC., PIGGLY
WIGGLY CAROLINA COMPANY,
PIGGLY WIGGLY OF MT. PLEASANT,
LLC, and THE PANTRY, INC.,
individually and as representatives of a
class of Lottery Retailers similarly situated,
Defendants.

                    Defendants.

          Decision by Court. This action came to hearing before the Court, The Honorable
          Margaret B. Seymour, United States District Judge, presiding. The defendants motions to
          dismiss having been heard and a decision having been duly rendered,

          IT IS ORDERED AND ADJUDGED that the plaintiffs Pete Cuming, James Benton,
     3:05-cv-03608-MBS         Date Filed 03/02/09      Entry Number 249        Page 2 of 2




and Dorothy McFadden, individually and as representatives of a class of people similarly

situated, shall take nothing of the defendants The Pantry Inc., Angler’s Mini-Mart, Inc., Piggly

Wiggly Carolina Company, and Piggly Wiggly of Mt Pleasant, LLC., individually and as

representative of a class of Lottery Retailers similarly situated, as to the Third Amended Class

Action Complaint and this case is dismissed as to these defendants with prejudice pursuant to

FRCP 12(b)(6).

       The court having been advised that the case has settled as to the remaining defendants,

       IT IS FURTHER ORDERED AND ADJUDGED that the plaintiffs James Benton, and

Dorothy McFadden, individually and as representatives of a class of people similarly situated

shall take nothing of the defendants South Carolina Lottery Commission, James A. Bailey Jr., T.

Moffatt Burris, Dr. Edward C. Keith, Ashley Landes, Tim Madden, A. Marvin Quattlebaum Jr.,

Boykin Rose, Nathaniel Spells Sr., Lisa H. Stevens, in their official positions as members of the

Board of Commissioners of the South Carolina Lottery Commission, and Ernie Passailaigue as

Executive Director of the South Carolina Lottery Commission, as to the Third Amended Class

Action Complaint and this case is dismissed with prejudice.


                                             LARRY W. PROPES, Clerk
                                             By: s/Angie Snipes
                                             Deputy Clerk

March 2, 2009
